B18 (Official Form 18) (12/07)

                                  United States Bankruptcy Court
                                         Western District of Washington
                                          700 Stewart St, Room 6301
                                              Seattle, WA 98101

                                              Case No. 08−13473−PHB
                                                    Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Karen D Smith
   dba K Delores & Associates
   PO Box 22417
   Seattle, WA 98122
Social Security/Individual Taxpayer ID No.:
   xxx−xx−6471
Employer Tax ID/Other nos.:



                                         DISCHARGE OF DEBTOR




The Debtor(s) filed a Chapter 7 case on June 5, 2008. It appearing that the Debtor is entitled to a discharge,

IT IS ORDERED:

The Debtor is granted a discharge under 11 U.S.C. § 727.



                                                            BY THE COURT

Dated: September 11, 2009                                   Philip H. Brandt
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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                                CERTIFICATE OF NOTICE
 District/off: 0981-2                  User: renatoc                      Page 1 of 1                          Date Rcvd: Sep 11, 2009
 Case: 08-13473                        Form ID: b18                       Total Noticed: 18

 The following entities were noticed by first class mail on Sep 13, 2009.
 db           +Karen D Smith,   PO Box 22417,    Seattle, WA 98122-0417
 sr           +Countrywide Home Loans Inc,    ROUTH CRABTREE OLSEN, P.S.,   c/o Jennifer Aspaas,
                3535 FACTORIA BLVD. SE #200,    Bellevue, WA 98006-1263
 cr           +Watermark Credit Union,   Michael Siderius,    500 Union Street, Ste 847,   Seattle, WA 98101-4065
 951168167     Bank of America,   PO Box 2463,    Spokane, WA 99210-2463
 951235315    +CAPITAL ONE BANK (USA), N.A.,    C/O TSYS DEBT MANAGEMENT (TDM),   PO BOX 5155,
                NORCROSS, GA 30091-5155
 951168171    +Countrywide Home Loans,   400 Countrywide Wy,    Simi Valley, CA 93065-6298
 951197053    +Countrywide Home Loans, Inc.,    7105 Corporate Drive PTX-B-209,   Plano, TX 75024-4100
 951168174    +Mortgage Solutions Management Inc,    8598 Utica Ave #100,   Rancho Cucamonga, CA 91730-4873
 951168176     Virginia Burdette,   600 Stewart St Ste 620,    Seattle, WA 98101-1261
 The following entities were noticed by electronic transmission on Sep 11, 2009.
 smg           EDI: WADEPREV.COM Sep 11 2009 19:18:00      State of Washington,    Department of Revenue,
                2101 4th Ave, Ste 1400,   Seattle, WA 98121-2300
 951168167     EDI: BANKAMER2.COM Sep 11 2009 19:18:00      Bank of America,    PO Box 2463,
                Spokane, WA 99210-2463
 951168168     EDI: CAPITALONE.COM Sep 11 2009 19:18:00      Capital One Bank,    PO Box 30285,
                Salt Lake City, UT 84130-0285
 951168169     EDI: CAPITALONE.COM Sep 11 2009 19:18:00      Capital One Bank,    PO Box 85502,
                Richmond, VA 23285-5502
 951168170     EDI: CAPITALONE.COM Sep 11 2009 19:18:00      Capital One Bank,    PO Box 85617,
                Richmond, VA 23285-5617
 951168172     EDI: RCSDELL.COM Sep 11 2009 19:18:00      Dell Financial Services,    PO Box 80409,
                Austin, TX 78708-0409
 951168173     EDI: IRS.COM Sep 11 2009 19:18:00      Internal Revenue Service,
                Centralized Insolvency Operations,    PO Box 21126,   Philadelphia, PA 19114-0326
 951168175     EDI: HFC.COM Sep 11 2009 19:18:00      Value City,   PO Box 15521,    Wilmington, DE 19850-5521
 951168178     E-mail/Text: loancontrol@watermarkcu.org                            Watermark Credit Union,
                PO Box 24927,   Seattle, WA 98124-0927
 951168177    +E-mail/Text: loancontrol@watermarkcu.org                            Watermark Credit Union,
                808 Howell St,   Seattle WA 98101-1384
                                                                                                TOTAL: 10
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 cr               Countrywide Home Loans Inc
 cr               Countrywide Home Loans Servicing LP
                                                                                                                     TOTALS: 2, * 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Sep 13, 2009                                       Signature:




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